                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:14-00025
                                                    )       JUDGE CAMPBELL
MIRIAM ALVARADO-BARAHONA,                           )
MARIA IBERRA RAIZ,                                  )
MARIO A. CARCAMO, and                               )
DELA MERCADO-CRUZ                                   )

                                             ORDER

        Defendant Dela Mercado-Cruz failed to attend the status conference held on April 18, 2014,

at 8:30 a.m. Defendant Mercado-Cruz shall report to the Probation Office by noon today, April 18,

2014. The Probation Office shall also drug test Defendant Dela Mercado-Cruz today. The Probation

Office shall advise the Court, in writing, regarding compliance with this Order.

        It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




     Case 3:14-cr-00025      Document 36       Filed 04/18/14     Page 1 of 1 PageID #: 91
